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12 UNITED STATES DISTRICT COURT

13 IN AND FOR NORTHERN DISTRICT OF CALIFORNIA

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15 || CAMERON DYESS, an individual, Case No. 4:20-cv-0909-HSG

16 Plaintiff, The Honorable Haywood S. Gilliam, Jr.,

Courtroom 2
17 VS.
[PROPOSED] JUDGMENT ON
18 || ESTATE OF JAJUAN LEE MORTON. DEFENDANT PA SOLUTIONS, INC.’S
Deceased; DONYELL SHAJUAN MOTION FOR SUMMARY JUDGMENT
19 || HANKINS as Personal Representative of the
ESTATE OF JAJUAN LEE MORTON, Action Filed: 02/06/2020
20 || Deceased; PA SOLUTIONS, INC., a Trial Date: 11/08/2021
Michigan Corporation: and DOES 1 through

91 1120, inclusive,

22 Defendants.

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24 The Motion for Summary Judgment of Defendant PA Solutions, Inc. (Dkt. no. 53) as to the

25 || operative complaint of Plaintiff Cameron Dyess came on for hearing on August 12, 2021, before

26 || the Honorable Haywood S. Gilliam, Jr.

27 After full consideration of the Motion for Summary Judgment, the Opposition (Dkt. no.
LEWIS 28 || 55), and the Reply (Dkt. no. 57), the Court, on August 13, 2021, issued a written order (Dkt. 62)
BRISBOIS
BRO 4813-8712-4726.] l Case No. 4:20-cv-0909-HSG

 

 

 

ATTORNEYS AT LAW JUDGMENT

 

 
LEWIS
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ATTORNEYS AT LAW

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granting the Motion for Summary Judgment. A true and correct copy of the Order is attached
hereto as Exhibit A and incorporated herein by reference as though fully set forth herein.

In accordance with the Court’s Order granting the Motion for Summary Judgment of PA
Solutions, Inc., the Court enters the following Judgment:

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

1. Cameron Dyess shall recover nothing from PA Solutions, Inc.;

2. Judgment is entered in favor of PA Solutions, Inc. against the operative complaint

of Cameron Dyess; and

 

4, PA Solutions, Inc. is awarded costs against Cameron Dyess.
DATED:
By:
HAYWOOD S. GILLIAM, JR.
United States District Judge
4813-8712-4726.1 2 Case No. 4:20-cv-0909-HSG

 

JUDGMENT

 

 
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EXHIBIT A

 
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

CAMERON DYESS, Case No. 20-cv-00909-HSG

Plaintiff, ORDER GRANTING MOTION FOR
SUMMARY JUDGMENT

Re: Dkt. Nos. 53

Vv.

ESTATE OF JAJUAN LEE MORTON, et
al.,

 

Defendants.

 

Pending before the Court is Defendant PA Solutions, Inc.’s (“PA Solutions”) motion for
summary judgment, for which briefing is complete. Dkt. Nos. 53 (“Mot.”), 55 (“Opp.”), and 57
(“Reply”). For the reasons noted below, the Court GRANTS the motion for summary judgment.

I. BACKGROUND

On November 23, 2019, Plaintiff Cameron Dyess filed a tort action against the Estate of
Jujuan Morton and PA Solutions, Inc (collectively “Defendants”). Dkt. No. 1-2 (“Compl.”) at 17.
On February 6, 2020, Defendants removed the action based on diversity jurisdiction, Dkt, No. 1.
On January 19, 2021, PA Solutions filed a motion for summary judgment. Dkt. No. 39. On April
21, 2021, the Court denied the motion without prejudice on Rule 56(d) grounds. Dkt. No. 49. On
June 30, 2021, PA Solutions filed the instant motion. Dkt. No. 53.

This action arises from a collision that occurred on December 3, 2017 at approximately
2:55 a.m., in which Plaintiff was in the car driven by his cousin, Jujuan Morton. Compl. 4 8.' On
the morning of December 2, 2017, Plaintiff and Morton went to the gym. Dkt. No. 53-1

Declaration of Andrew C. Hubert 7 3, Ex. B Deposition of Cameron Dyess (“Plaintiff's Depo.”) at

 

' The following facts are undisputed unless otherwise noted.

 

 

 
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56:6-9. On that same day, they attended a wedding of Morton’s friend’s mother that started
sometime between 4:00 p.m. and 6:00 p.m. /d. at 58:4-15, 71:12-16. Plaintiff recalled that
Morton brought them each a drink with alcohol. /d. at 66:1-68:17, 141:7-11. Following the
wedding, they went to City Nights Club in San Francisco and left sometime before 2:00 a.m. Jd.
at 70:20-24, 82:11-21. Plaintiff saw Morton “drink at City Nights,” but could not give an estimate
as to the number of drinks either had while there. Jd. at 79:18-80:5. They later attended an event
in Oakland similar to “First Friday of Oakland.” Jd. at 89:14-20, 91:23-24. Plaintiff stated that
neither of them had alcohol at that event. Jd. at 91:10-13. Following the event in Oakland, the
next thing Plaintiff remembered was “[w]Jaking up from a coma.” Jd. at 92:3-6. Morton died from
the collision, and Plaintiff survived, but sustained injuries. Plaintiff alleges that Morton “caused
the vehicle to collide at high speed with a guardrail, sound wall, and a traffic sign pole, destroying
the vehicle and leaving a 150-foot long debris field along the side of the interstate.” Compl. 10.
Plaintiff further alleges that Morton was negligent and that PA Solutions “is vicariously liable for
the negligent acts and/or omissions of its agents and employees, including Mr. Morton, under the
doctrine of respondeat superior.” Jd. at {7 14-21.

At the time of the incident, PA Solutions employed Morton as a robot programmer. Dkt.
No. 53-2 Declaration of Keith Philliben (“Philliben Decl.”) 9 4. PA Solutions is a “Michigan-
based company that provides automation engineering solutions to the automotive industry.” Jd. at
73. “Tesla approved PA Solutions to provide personnel on an agreed upon service rates for the
Tesla Project.” Jd. at 4. In September 2017 Morton began working as a robot programmer on
the Tesla Project in California. Jd. at § 8. Plaintiff contends that PA Solutions had previously sent
Morton on off-site projects, during which it “regularly provided [Morton] airfare, lodging, and
rental vehicles.” Opp. at 2; see Declaration of Johnathan M. Shugart (““Shugart Decl.”) § 3, Ex. 2
at PAS 000067.

During his stay in California, Morton drove a Dodge Charger that was a rental vehicle. /d.
at J 6. The Charger was rented “for the period of November 9, 2017 to December 4, 2017,” and

the “purpose of the rental was a transportation option for Morton during his stay in California.”

Id. PA Solutions “provided Morton a per diem (i.e., a daily set allowance of money for living

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expenses, in particular meals)” and “reimbursed Morton for gas used for business travel during his
stay in California.” Jd. at {§ 5-6. Employees were directed to “decline [] insurance because the
insurance is provided as a corporate account.” Shugart Decl. § 8, Ex. 7 Deposition of Lisa Hobert
(“Hobert Depo.”) at 17:12-21. The manager of the Tesla account, Keith Philliben, explained that
he tried to facilitate carpooling to the Tesla Factory. Shugart Decl. | 7, Ex. 6 Deposition of Keith
Philliben (“Philliben Depo.”) at 89:11-24; see id. at § 4, Ex. 3 at PAS 000757 (email coordinating
carpool efforts).

Philliben was “responsible for interfacing resource requests between PA Solutions and
Tesla.” Philliben Decl. ¢ 4. According to Philliben, Tesla “opted not to renew the purchase order
with PA Solutions on the Tesla Project after the purchase order utilized available funds,” and “PA
Solutions had zero hours remaining on the purchase order” as of December 1, 2017. Jd. at 48. On
November 28, 2017, Lisa Hobert, a PA Solutions employee, emailed Philliben and Morton for a
status update. Philliben Decl. ¥ 9, Ex. 1 (email exchange) at 1. On November 29, 2017, Philliben
responded that he was “still trying to negotiate,” but that they would “have to look at bringing
[Morton] home” if “nothing positive turns up.” Jd. Philliben also separately emailed Morton
stating that PA Solutions needed to book him a flight home for either Friday December 1, 2017, or
Saturday December 2, 2017. Jd. Morton asked to postpone the flight until Sunday, December 3,
2017. Id. Philliben approved Morton’s request, but informed him that he would “have to be
responsible for per diem costs for the extra days,” specifically for Friday and Saturday “since [he
was] taking that as personal time.” Jd He told Plaintiff not to perform work in California after
Thursday, November 30, 2017 and directed Hobert to book Morton’s flight for “Sunday morning
from Fremont to Detroit.” Jd.

Philliben testified that a company known as ATG that Morton had been in contact with
was “inquiring to contract [] Morton” in late 2017, but he confirmed that negotiations did not
result in a contract. Philliben Depo. at 44:20-45:16, 48:4-6, 48:14-25, 63:11-22. He explained
that ATG had responded to his offer with a lower rate, and he does not believe that he made any
effort to provide a counteroffer to ATG. Jd. at 52:4-53:19. Philliben recalled that he had emailed

Zoltan Deak, Morton’s direct supervisor, about ATG’s proposal on November 30, 2017 and that
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Deak “replied to [him] something along the lines of how long it would last?” Jd. at 49:1-10.
Philliben believes that Deak’s response was the “last communication on the topic.” Jd. at 49:9-12.
With respect to the contract with ATG, Deak also stated that he “responded to the email” from
Philliben but he “never received the response.” Shugart Decl. § 9, Ex. 8 Declaration of Zoltan
Deak (“Deak Decl.”) at 21:3-8; see Shugart Decl. § 5, Ex. 4.at PAS 000927 (email exchange
between Philliben and Deak).

As for the status of the flight, Hobert stated that documents show the booking was
“initiated,” but she “did not have an answer to where it ended up.” Hobert Depo. at 26:18-25. She
explained that “[a]dministratively, [she] may have initiated it, but it may have sat on hold, waiting
for a confirmation if the individual was going or not, or it could have been left with [Morton] to
say ‘You need to confirm and make that call.’ ” Jd. at 27:2-8.

Il. LEGAL STANDARD

Summary judgment is proper when a “movant shows that there is no genuine dispute as to
any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
A fact is “material” if it “might affect the outcome of the suit under the governing law.” Anderson
v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is “genuine” if there is evidence in the
record sufficient for a reasonable trier of fact to decide in favor of the nonmoving party. Jd. The
Court views the inferences reasonably drawn from the materials in the record in the light most
favorable to the nonmoving party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
574, 587-88 (1986), and “may not weigh the evidence or make credibility determinations,”
Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997), overruled on other grounds by Shakur v.
Schriro, 514 F.3d 878, 884-85 (9th Cir. 2008).

The moving party bears both the ultimate burden of persuasion and the initial burden of
producing those portions of the pleadings, discovery, and affidavits that show the absence of a
genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Where the
moving party will not bear the burden of proof on an issue at trial, it “must either produce
evidence negating an essential element of the nonmoving party’s claim or defense or show that the

nonmoving party does not have enough evidence of an essential element to carry its ultimate

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burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102
(9th Cir. 2000). Where the moving party will bear the burden of proof on an issue at trial, it must
also show that no reasonable trier of fact could not find in its favor. Celotex Corp., 477 U.S. at
325. In either case, the movant “may not require the nonmoving party to produce evidence
supporting its claim or defense simply by saying that the nonmoving party has no such evidence.”
Nissan Fire & Marine Ins. Co., 210 F.3d at 1105. “Ifa moving party fails to carry its initial
burden of production, the nonmoving party has no obligation to produce anything, even if the
nonmoving party would have the ultimate burden of persuasion at trial.” /d at 1102-03.

“If, however, a moving party carries its burden of production, the nonmoving party must
produce evidence to support its claim or defense.” /d. at 1103. In doing so, the nonmoving party
“must do more than simply show that there is some metaphysical doubt as to the material facts.”
Matsushita Elec. Indus. Co., 475 U.S. at 586. A nonmoving party must also “identify with
reasonable particularity the evidence that precludes summary judgment.” Keenan v. Allan, 91
F.3d 1275, 1279 (9th Cir. 1996). Ifa nonmoving party fails to produce evidence that supports its
claim or defense, courts enter summary judgment in favor of the movant. Celotex Corp., 477 U.S.
at 323.

WI. DISCUSSION

As noted, Plaintiff contends that Defendant PA Solutions is vicariously liable for Morton’s
alleged negligence. Defendant moves for summary judgment, arguing that it cannot be held
vicariously liable because Morton was not acting in the scope of his employment. The Court
agrees.

“In California, the scope of employment has been interpreted broadly under the respondeat
superior doctrine.” Farmers Ins. Grp. v. Cty. of Santa Clara, 11 Cal. 4th 992, 1004 (1995).
“(T]he fact that an employee is not engaged in the ultimate object of his employment at the time of
his wrongful act does not preclude attribution of liability to an employer.” Jd. (citation omitted).
“[A]n employee’s tortious act may be within the scope of employment even if it contravenes an
express company rule and confers no benefit to the employer.” /d. (citation omitted). An

employee is acting within the scope of his employment “when in the context of the particular

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enterprise an employee’s conduct is not so unusual or startling that it would seem unfair to include
the loss resulting from it among other costs of the employer’s business.” Jd. at 1003 (emphasis
omitted). An employer may be vicariously liable for an employee’s conduct if “the incident
leading to injury [was] an outgrowth of the employment,” or if the risk of tortious injury was
“inherent in the working environment,” or “typical of or broadly incidental to the [employer’s]
enterprise.” Lisa M. v. Henry Mayo Newhall Mem’'l Hosp., 12 Cal. 4th 291, 298 (1995) (internal
quotation marks and citations omitted); Purton v. Marriott Int’l, Inc., 218 Cal. App. 4th 499, 505,
(Ct. App. 2013) (same). The “scope of employment” determination is a question of fact, unless
“the facts are undisputed and no conflicting inferences are possible.” Jd. at 299 (internal quotation
marks and citation omitted).

Plaintiff disputes that Defendant “simply ended [Morton’s] work on the Tesla Project and
ordered him to come home at the end of November, 2017.” Opp. at 4. Plaintiff maintains that
discussions to keep Morton in California “may have been still ongoing at the time of the incident.”
Id. at 9. Plaintiff points to the evidence showing that PA Solutions started, but never completed,
an online flight reservation for Morton. See Hobert Depo. at 26:14-27:8; Philliben Depo. at 83:13-
18. Plaintiff also contends that PA Solutions never denied ATG’s offer prior to Morton’s death.
See Philliben Depo. at 52:4-53:19. Notably, other evidence supports that PA Solutions expected
Morton to leave California that Sunday. Specifically, Philliben told Morton that he would not
receive his normal per diem stipend for Friday and Saturday and directed him not to work in
California after Thursday. Philliben Decl. § 9, Ex. 1. Philliben also directed Hobert to book a
flight for Morton and explained that he was not surprised that “she may have missed” the directive
given it was “at the bottom of an email to [Morton].” Philliben Depo. at 83:13-25.

However, in viewing the record in the light most favorable to Plaintiff, the incomplete
booking may have resulted from ongoing assessment of the contract Morton had identified, rather
than some oversight. Hobert explained that ‘they were working on several options to keep
[Morton] longer” and attributed “the lag in some of the details” to the consideration of those

options. Hobert Depo. at 27:23-28:2. Given that there is no evidence of a completed flight

booking or of any firm denial of ATG’s offer, a reasonable juror could find that PA Solutions was

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considering extending Morton’s stay in California. But in light of the discussion below, this
dispute is not material.

Plaintiff contends that such ongoing discussions raise a genuine issue of material fact as to
whether “PA Solutions sought to directly benefit from extending [Morton’s] hotel and rental
vehicle and keep him situated in California.” Opp. at 9. But Defendant maintains that even if it
“was looking to place Morton in another job in California,” Plaintiff's theory would hold an
employer vicariously liable for “anything Morton was doing” during a business trip. Reply at 2-3
(emphasis in original). PA Solutions argues that the law, including the cases cited by Plaintiff,
requires the employee to “be doing something related to his employer’s business at the time of the
accident.” Id. at 3 (emphasis in original). As noted below, the Court does not entirely agree with
Defendant’s interpretation of at least one of Plaintiff's cited cases. See Purton, 218 Cal. App. 4th
at 505. But the Court does agree that Plaintiff's focus on the general benefit PA Solutions may
have sought by keeping Morton in California to work is too broad and does not raise a genuine
issue of material fact as to whether Morton was acting in the scope of his employment.

Crucially, there is no evidence tying the injury-producing conduct to Morton’s
employment such that a jury could reasonably find that Morton driving the Charger from a
personal event “was an outgrowth of his employment, inherent in the working environment,
typical of or broadly incidental to the employer’s business, or, in a general way, foreseeable from
the employee’s duties.” See Purton, 218 Cal. App. 4th at 505 (internal quotation marks and
citation omitted). There is no evidence to suggest that Morton was performing work for PA
Solutions when the accident occurred, or at any of the personal events that he attended that
Saturday evening. Plaintiff argues that the underlying tort was foreseeable because the collision
occurred “only about 20 miles away from the Tesla factory ... where PA Solutions was
attempting to have him remain” and the “collision occurred due to the negligent driving of the
Charger by [Morton], for which PA Solutions agreed to provide insurance coverage to third

parties.” See Opp. at 7, 9. Neither of these points, particularly in light of the overall factual

 

* Plaintiff's arguments appear to focus solely on foreseeability. See Opp. at 9-10. To the extent
Plaintiff argues that the underlying tort was typical of PA Solution’s business, the Court finds that

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context, rendered the accident foreseeable. And in any event, courts have held that “both
foreseeability and a nexus between the tortious act and the employment are required.” Halliburton
Energy Servs., Inc. v. Dep't of Transportation, 220 Cal. App. 4th 87, 103 (Ct. App. 2013) (citing
Bailey y. Filco, Inc., 48 Cal. App. 4th 1552, 1560-61 (Ct. App. 1996)); see also Jeewarat v.
Warner Bros. Ent. Inc., 177 Cal. App. 4th 427, 435 (Ct. App. 2009) (“An essential element of
respondeat superior is a causal nexus or reasonable relationship between the duties of employment
and the conduct causing injury.”). The undisputed facts show no nexus between Morton’s
activity—driving to several personal events with his cousin on a Saturday evening—and his
employment. See Halliburton, 220 Cal. App. 4th at 104 (finding that an employee using “the
company truck to accomplish [a personal activity] was insufficient to establish the required nexus
between his activity at the time of the accident and his employment”).

Plaintiff relies heavily on two cases, but neither involved an injury-producing incident with
no connection to the workplace or a work event. In Purton, a hotel “held its annual holiday party
as a ‘thank you’ for its employees and management” and “provided alcohol and permitted the
consumption of [other] alcohol brought to the party.” Jd. at 503, 509. An employee drank alcohol
at the work event, then went to his home, but then left to drive a coworker home and hit another
car during that drive. Jd. at 503-04, 509. The court concluded that “existing California case law
clearly establishes that an employer may be found liable for its employee’s torts as long as the
proximate cause of the injury occurred within the scope of employment.” /d. at 508. It further
explained that “[i]t is irrelevant that foreseeable effects of the employee’s negligent conduct
occurred at a time the employee was no longer acting within the scope of his or her employment.”
Id.

In focusing on the proximate cause of the car accident, the court found that the evidence
showed that “the party and drinking of alcoholic beverages were . . . of a conceivable benefit to”

the hotel by improving employee morale and “a customary incident to the employment

 

argument unpersuasive given the purely personal nature of Morton’s conduct. Sunderland v.
Lockheed Martin Aeronautical Sys. Support Co., 130 Cal. App. 4th 1, 11, (Ct. App. 2005) (“If an

employeé’s act is purely personal, it is not ‘typical of or broadly incidental to the employer’s
enterprise.’ ”).
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relationship” in light of evidence suggesting that the hotel “impliedly permitted employees to
consume alcohol while on the job.” /d. at 510. The court thus held that a reasonable jury could
find the employee “acted negligently by becoming intoxicated at the party” and “that this act was
within the scope of his employment and proximately caused the car accident.” Jd. at 506. The
court noted its agreement with another court’s holding that “if a commercial enterprise chooses to
allow its employees to consume alcoholic beverages for the benefit of the enterprise, fairness
requires that the enterprise should bear the burden of injuries proximately caused by the
employees’ consumption.” /d. at 511 (quoting Childers v. Shasta Livestock Auction Yard, Inc.,
190 Cal. App. 3d 792, 810 (Ct. App. 1987)). But the court left it to the jury to determine whether
the employee’s “act of leaving his home shortly after arriving from the party to drive a fellow
employee to that employee’s home was so unusual or startling so as to render the car accident
unforeseeable.” /d. at 511-12 (internal quotation marks and citation omitted).

Here, Morton did not become intoxicated at a work event, and there is no evidence to
suggest that PA Solutions allowed Morton to drink alcohol in any context for its own benefit.
Plaintiff makes no argument that Morton drinking at personal events was “of conceivable benefit
to” PA Solutions or a “a customary incident to the employment relationship.” See id. at 510.
Though a jury could find that Morton’s drinking proximately caused the car accident, there is no
evidence to support that drinking at any of personal events Morton attended was within the scope
of his employment. And to the extent Plaintiff suggests that efforts to facilitate carpooling
between employees at the Tesla Project is relevant, see Opp. at 3, the Court disagrees because it is
undisputed that Morton was driving with Plaintiff as the single passenger.

Similarly, the Court is not persuaded by Plaintiff's reliance on Jeewarat. In Jeewarat, an
employee attended an out-of-town business conference and his employer “approved [his] trip and
paid for his airfare, hotel, and airport parking.” 177 Cal. App. 4th at 431. When the employee
later “retrieved his car” from the airport parking lot, he “did not intend to go to his office, but
instead planned to return to his home.” Jd. at 432. “On his way home, he drove around the studio
complex where his office was located without stopping and took his normal route home for

approximately two to three miles, until he was involved in an automobile collision.” Jd. The trial

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court granted the employer’s motion for summary judgment based on the ‘*‘going and coming
rule,” which provides that an employer is not subject to vicarious liability for accidents occurring
during an employee’s commute to or from the workplace.” /d at 431.

On appeal, the court reversed based on the special-errand exception to the going and
coming rule. Jd. at 439. The court found that the evidence that the employer paid for the “airfare,
hotel accommodations, and airport parking leads to a reasonable inference that [it] expected to
derive a benefit from [the employee’s] attendance at the conference.” Jd. at 437. The court held
that “attendance at an out-of-town business conference may be considered a special errand” and
that “when an employee intends to drive home from the errand, . . . the errand is concluded when
the employee returns home or deviates from the errand for personal reasons.” Jd. at 431. The
court reasoned that the employee “intended to return to his home, and there were no intervening
personal deviations to remove him from the course and scope of employment.” /d. at 438. Here,
it is undisputed that Morton was not returning from any business-related event. Further, nothing
in the record suggests that Morton was commuting to or from work, or otherwise engaged in a
special errand for PA Solutions’ benefit. The Court thus finds Jeewarat inapposite.

At bottom, the record shows that Morton was pursuing his personal interests and that his
conduct had no relation to his employment. PA Solutions argues that the use of the Charger did
not place his conduct in the scope of employment because Morton was engaged in exclusively
personal pursuits. Mot. at 9 (citing Halliburton, 220 Cal. App. 4th at 102). Plaintiff makes no
argument as to why this rule does not apply, and otherwise makes no effort to distinguish any of
the cases PA Solutions cites. See generally Opp. Accordingly, the Court finds that Plaintiff has
not raised a triable issue of material fact to survive summary judgment.

Lastly, Plaintiff requests that the Court defer considering the motion pending further
discovery under Federal Rule of Civil Procedure 56(d). Opp. at 13. But Plaintiffs counsel filed
no new supporting declaration to show that such relief is warranted. See State of Cal., on Behalf
of Cal. Dept. of Toxic Substances Control v. Campbell, 138 F.3d 772, 780 (9th Cir. 1998) (noting

that a party seeking relief under Rule 56(d) must “set forth in affidavit form the specific facts that

they hope to elicit ftom further discovery” and “that these sought-after facts are essential to resist

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Northern District of California

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the summary judgment motion”). The Court previously granted Plaintiff's request under Rule
56(d) to allow Plaintiff additional time to adequately respond to the first motion for summary
judgment. Dkt. No. 49. The Court notes that the deadline for fact discovery has passed, see Dkt.
No. 38, and finds that Plaintiff has not met his burden of showing that more time is necessary for
discovery to oppose the motion for summary judgment. Accordingly, the Court denies Plaintiffs

request.

IV. CONCLUSION

Because there is no genuine issue of material fact as to whether Morton was acting in the

scope of his employment, the Court GRANTS PA Solutions’ motion for summary judgment.

IT IS SO ORDERED.

Dated: August 13, 2021 Abeturd 5 Mbt Ip.
HAYWOOD S$. GILLIAM, JR.

United States District Judge

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FEDERAL COURT PROOF OF SERVICE
Dyess v. PA Solutions, Inc.
Case No. 4:20-cv-00909-HSG
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

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I served the documents on the following persons at the following addresses
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l Case No. 4:20-cv-0909-HSG

JUDGMENT

 

 
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The documents were served by the following means:
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iled the documents with the Clerk of the Court using the CM/ECF system,
which sent notification of that filing to the persons listed above.

I declare under penalty of perjury under the laws of the United States of
America and the State of California that the foregoing is true and correct.

Executed on August 16, 2021, at Los Angeles, California.

Tonia Moore
Tania Moore

 

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JUDGMENT

 

 

 
